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                       U N ITED STA TES D ISTR IC T C O U R T
                       SO UTH ERN DISTRIC T O F FLOR IDA

                     Case No.18-cv-24889-G              CM ILEY



    GU STA VO ABELLA ,
          Plaintiff,                                         FILED BY                 D.C.

        V.                                                       FE8 11 2219
                                                                   ANGELAq.NOBLE
    TO W N O F M lA M l LA K E S,eta1.,                           CLERNtl& OlST:CT.
                                                                 S.D.OF FLA.-MIAMI
            D efendants



                  PLA IN T IFF'S FIR ST A M EN D ED C O M PLA IN T

                                  IN TRO DUCTIO N


                 This is a C ivil Rights action on behalf of Plaintiff G U STA V O
             ABELLA, (hereinafter TEM R.ABELLA'), civic activist, against the
             TO W N O F M IA M I LA K ES, form er M AY OR M IC I-IA EL PIZZI,
             TOW N M ANA GER ALEX REY , M lAM l DAD E COUN TY, and
             M 1AM 1DADE POLICE OFFICER JuM F RODRIGUEZ (OFFICER
             RODRIGUEZ),whom throughout2016-2018 acting tmderthe colorof
             the Law have violated M R.. A B ELLA 'S First A m endm ent R ights and
             retaliated against M R . AB ELLA as a result of exercising his First
             A m endm entR ights because he had exhibited politicalsigns m entioning
             and criticizing Tow n M anager A LEX REY and M ICHA EL PIZZI and
             also for reporting OFFICER RODRIGUEZ'S tm lawfulM isconduct and
             Petition to redressforgrievances.

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            l. This action fordeclaratory and m onetary dam ages is broughtpursuant
         to 42 U .S.C. Section 1983,the First and Fourteenth A m endments to the
         U nited States Constitution, and under the Law s of the State of Florida
         against the TO W N O F M lA M l LA K ES, form er M A Y O R M IC H A EL
         PIZZI, TOW N M AN AGER M EX REY,M IAV                DADE COUN TY, and
         O FFICER R O D R IG U EZ.


                                 JU R ISD IC TIO N A N D V EN U E



               This action arises under the Constitution and law s of the United
         States, particularly the First and Fourteenth A m endm ents to the U nited
         States C onstitution.


            3.The jtlrisdiction of this Court is invoked pursuant to 28 U.S.C.
         Sections 1331 and 1343,as a case arising underthe law s ofthe U nited States
         and under42 U .S.C.1983,AS A CA SE SEEKING TO EN FORCE RIGHTS
         ANln PRIVILEDGES SECURED BY TI-IE LAW S OF THE U nited States
         and on the supplementaljurisdiction ofthisCourtto entertain claimsarising
         understate 1aw ptlrsuantto 28 U .S.C.Section 1367.


            4. V enue is proper in this district because it is where the events
         com plained ofoccurred.




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                                     TH E PARTIES


            5. Plaintiff,M R..ABELLA ,is an individual and a resident of M iam i
         Dade County,Florida. M R..A BELLA isa citizen ofthe United Statesand a
         qualified and legally registered FloridaV oter.


            6. D efendant TOW N OF M IAM I LAKES is located in M iam i D ade
         County,Florida.


               D efendant TO W N M AN A G ER A LEX REY ,w as atal1tim es relevant
         to this Com plaintduly appointed and acting as Tow n M anager forthe Tow n
         of M iam i Lakes,acting under color of law to w it,under color of statutes,
         ordinances,regulations,policies custom s and usages ofthe State of Florida.
         D efendantTOW N M AN AGER ALEX REY isbeing sued in hisOfficialand
         Individualcapacities.


            8. D efendant Form er TOW N M AYOR M ICHAEL PIZZI was at a11
         tim esrelevantto this com plaintand acting asTow n M ayorforthe Town of
         M iam i Lakes, acting under color of law to w it, under color of statutes,
         ordinances,regulations,policiescustom s and usages ofthe State ofFlorida.
         D efendantFormerM AYOR M ICI-IAEL PIZZI isbeing sued in his Official
         and lndividualcapacities.


            9. D efendant OFFICER RODRIGUEZ wasata11tim esrelevantto this
         com plaintduly appointed and acting asM iam iD ade Police Officerassigned
         to the Town ofM iamiLakes,acting undercoloroflaw to w it,tm dercolorof

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         statutes,ordinances,regulations,policies,custom sand usagesofthe State of
         Florida and/ortheM inm iDade County Police Depm m ent.


            10. Defendant OFFICER RODRIGUEZ w as the Com munity Service
         Officer for the Town of M iam i Lakes during the relevant time period at
         issue. D efendant O FFICER RO D R IG IJE Z is being sued in his official and
         individualcapacity as a police officerw ith the M iam iDade County Police
         D epm m ent.


                D efendantM IA M ID A D E CO U N TY w as atalltim es relevantto this
         com plaint. They have had know ledge of all the incidents raised 9om the
         D efendant O FFIC ER RO D R IG UE Z'S m isconduct, abuse of pow er,
         retaliation and harassm ent and a11 the com plaints that have been filed and
         reported to D efendants TO W N O F M IA M I LA K ES and to M IAM I D AD E
         C ounty.


            12. Defendant M IAM I DADE COUN TY w as aware of Defendant
         OFFICER RODRIGU EZ'S attitude and behavior regarding the pattern of
         violation of civil rights detailed in the case A bella v.N ancy Sim on,et a1.,
         C ase N o.11-20152-C 1V-A LTO N A GA -BR O W N thatto this date D efendant
         OFFICER RODRIGUEZ continue to display against Plaintiff M R.
         A BELLA in retaliation forexercising his rightsunder the FirstA m endm ent.


            13. At a11 m aterial tim es, and in all of their acts described hereto,
         D efendantsw ere acting undercolorofstate law and coloroftheir authority
         as public officials and public em ployees. A t all tim es, D efendants w ere

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         engaged in conduct that w as the proxim ate cause of the violations of
         Plaintiff sfederally protected rights,asm ore specitk ally described below .


                              STATEM ENT O F FA CTS


            14. On February 12, 2016 at 9:38 a.m ., Plaintiff's w ife, M rs.M iriam
         Abella,sentan em ailto:TOW N M AN AGER,ALEX REY ,M lAv DAD E
         PO LICE D irector J.D . PA TTER SO N , and M IA M I D AD E PO LIC E
         IN TERN A L A FFM RS, pleading and requesting that they take the proper
         procedtlre to stop this new cam paign that D EFEN D AN T O FFICER
         R OD R IGU EZ has once again started, harassing and intim idating M R..
         M ELLA . M rs.A bella referenced in this em ailthe m isconduct and history
         ofthe w idespread and abuse ofD EFEN D A N T O FFIC ER R O D RIG U EZ and
         referenced a prior case that involved D EFEN D AN T                O FFICER
         R OD R IGIJEZ, Southern D istrict C ourt, C ase N o. 1l-20152-C V -
         A LTO N A G A /SIM O N TO N . CivilR ights.


            15. O n M arch 22,2016 M R.A BELLA sentan em ailto Tow n of M iam i
         Lakes form er M ayor M ICH A EL PIZZI, TO W N M AN A G ER M EX REY
         and Tow n C ouncilm em bers, seeking accountability and to resolve and
         correctthe unlaw fulbehavior that continues to be done to M R.. A BELLA
         and his fm ily by DEFEND AN T OFFICER RODRIGUEZ and TOW N O F
         M IAM ILAKES.To thisday no response hasbeen received from D efendant
         TO W N O F M lA M l LAK ES nor has a change of conduct has been display
         by D EFEN D A N T O FFICER RO D RIG IJEZ .



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            16. O n A pril 12,2016 at 7:30 a.m .M R..A B ELLA sent an em ail filing
         grievances seeking help assistance and accolmtability to TOW N OF M IAM I
         LA K E S M AN A GER , A LEX RE Y , TO W N O F M IAM I LA K ES form er
         M AY O R M ICI-IA EL PIZZI, and Tow n C ouncilm em bers asking and
         requesting thata11M R.ABELLA 'S evidence be reviewed and investigated
         as to how and w hy M R..A BELLA and his fam ily continue to be punished
         and retaliated against by D EFEN D AN T O FFICER R O D R IG U EZ for M R.
         A BELLA engaging in a conduct protected by the First am endm ent and for
         filing grievances against D EFEN D A N T O FFICER R O D R IG U EZ and
         TO W N O F M lA M lL AK ES.


            17. O n A pril 12, 2016 at 4:39 p.m ., in response to M R . A B ELLA 'S
         em ail from earlier, Tow n of M IAM I LA K ES Form er M A Y OR M ICH A EL
         PIZZI sent an em ail to TOW N M A N A G ER A LEX R EY stating iiA lex:
         He'satitagain.FY1.Getan injunction,or1'11getoneforyou.M ike.''

            l8. Form er TO W N O F M lAM l LA K E S M AY O R M ICH A EL P1ZZ1's
         email to TOW N M AN AGER ALEX REY resulted in violating and
         depriving M R.. A BELLA of his First A m endm ent R ights to Petition for
         RedressofGrievancesto TOW N OF M IAM ILAKES and ended w ith M R..
         ABELLA being punished indefinitely for exercising his First Am endment
         R ights.


            19. TOW N M ANAGER ALEX REY and DefendantTO W N OF M IAM I
         LAK ES deliberately ignored the p ievances filed against DEFEND AN T
         O FFIC ER R O D RIG UE Z because TO W N M AN A G ER M EX R EY knew

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         and had know ledge thatM R..ABELLA had gathered and obtained sufficient
         clear evidence that with a unobstructed investigation w ould prove that
         TOW N     M AN A G ER   A LEX    R EY   personally participated in the
         constitutional violations acting under color of law ,abused his power and
         personally is/w as involved and im plicated in the cam paign w ith
         D EFEN D AN T O FFICER R OD R IGU E Z to silence M R . A B ELLA for
         having engaged in a conductprotected by the FirstAm endm entofexhibiting
         political sign on his vehicle, filing grievances, and had deprived and
         obstructed M R . A B ELLA ofhis rights to petition for redress ofgrievances
         to D efendantTO W N O F M IA M ILA K ES.


            20. Throughout 2016-2018 M R.. A BELLA filed num erous com plaints
         through em ailto D efendantTO W N O F M IAM ILA K E S and M IA M ID A D E
         POLICE D EPA R TM EN T,pleading to investigate D EFEN D A N T O FFICER
         R O D R IG U EZ'S continue unlaw ful m isconduct of harassing, stalking,
         intim idating and tlzreatening M R..A BELLA . D efendantTO W N O F M lA M l
         LAKES isand hasbeen aware ofthe Constitutionalviolation butdid notdo
         a thing to correct the m isconduct and unlaw ful actions of D EFENDAN T
         OFFICER RODRIGUEZ and failed to provide adequate training and
         deliberately ignored the grievances against D EFEN D AN T O FFICER
         R O D R IG U EZ.


            21. O n A pril 27, 2016, M R.. AB ELLA sent an em ail to the Tow n of
         M iam i Lakes Police D epartm ent seeking and pleading to D EFENDAN T
         OFFICER RODRIGUEZ to undo and correctallhisunlawfulm isconductof
         abuse and retaliation against M R. A B ELLA .           From   2016-2018

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         D EFEN D A N T OFFICER RODRIGUEZ acting under color of law w as
         putting pressure on M R.. A BELLA notto com e forward w ith the evidence
         that G U STA V O A BELLA     had obtained that im plicated DEFENDAN T
         OFFICER RODRIGUEZ,TOW N M ANA GER M EX REY,and the TOW N
         OF M lAlM l LAKES of having orchestrated a situation againstGU STAVO
         A BELLA , M iam i D ade C ircuit C ourt Case     2008-19978-CA -01, that
         resulted in M R. ABELLA and M rs.Abella getting hit with a Sum m ary
         Judgem entofover$100,000.00 forthe m aliciouscorruptactorchestrated by
         D EFEND ANT OFFICER RODRIGUEZ,TOW N M AN AGER ALEX REY
         and TO W N O F M lA M lLA K ES in retaliation against M R..A BELLA as a
         resultof M R..A BELLA exercising his FirstA m endm entR ights.


            22. O n A pril 28, 2016,the follow ing day as D EFEN D AN T O FFICER
         R O D RIG U EZ w as approaching M R. AB ELLA , D EFEN D A N T O FFICER
         R O D RIG U EZ stared directly at M R .A B ELLA and stated EEM ON EY ''to
         M R..A BELLA .


            23. On M ay 12, 2016, TOW N M AN A G ER A LEX RE Y along w ith
         D EFEN D A N T O FFICER RO D R IG IJE Z acting under the colorof law did as
         form er TO W N M A Y O R M ICHA EL PIZZI has asked him to do,
                                                                     ' TO W N
         M ANAGER ALEX REY filed and obtained the Injunction Order against
         M R.M ELLA,accompanied by D EFEND AN T OFFICER RODRIGUEZ as
         his witness,both were sworn under Oath under Penalty of Perjury and
         falsely accused M R.ABELLA outof retaliation forM R..ABELLA having
         engaged in a conduct protected by the First Am endm ent and filing
         Grievancesand RightofSpeech and to Petition forRedressofGrievancesto

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         the Tow n of M iam iLakes resulting in M R.ABELLA, a resident of the
         Tow n of M iam iLakes for over 20 years being punished out of retaliation
         and cnnnot go freely near or w ithin 400 feet of the TOW N OF M IAM I
         LAKES Police Departm ent,Town Hall and certain stores on M ain Sleet
         and remainsin effectindefinitely. (M iamiDadeCounty CourtCase//2016-
         011400-FC-04, Petitioner TO W N M A N A G ER A LEX REY , R espondent:
         GUSTAVO ABELLA,W itness:DEFENDANT OFFICER RODRIGUEZ).

            24. O n M ay 17, 2016 at 3:30 p.m ., D EFEN D AN T OFFICER
         R OD R IGU EZ appeared outside M R.. A BELLA 'S residence and follow ed
         M R..A B ELLA as he w as exiting his C ondom inium Com plex,harassing and
         intimidating M R.A BELLA as he w as exhibiting and displaying a political
         sign on his vehicle thatread: çt-fow n ofM iam i Lakes TO W N M AN A G ER
         A LEX R EY isC orrupt. Y ou TU BE :Justice 4 M EnU ''.


            25. The sam e day, M ay 17, 2016 at 5:00 p.m ., as M R..A BELLA w as
         parked across the streetofhis residence displaying the politicalsign on his
         vehicle forthe com munity to read the sign thatread tt-fown ofM iamiLakes
         TOW N M AN A G ER A LEX REY is Com zpt. Y ou Tube: Justice4M Enu ''
         DEFEN DAN T OFFICER RODRIGUEZ drove by and told M R..ABELLA
         to rem ovethepoliticalsign offhiscarorhe would be given a citation. A lso,
         D EFEN DAN T OFFICER RODRIGUEZ told M R.ABELLA to stop the
         flyer com plaint or end up being arrested; acting under color of 1aw
         D EFEN D AN T O FFIC ER R OD R IGU E Z deprived M R.. A BELLA of his
         FirstAm endm entright.



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             26. The sam e day M ay 17,2016 at5:25 p.m .OFFICER RODRIGUEZ,
          acting undercoloroflaw ,outofretaliation forM R.ABELLA exercising his
          FirstAm endm entrights returned with mlm erous Police Officers to deprive
          and deterM R.ABELLA ofhisrightto exhibitand display hispoliticalsign.


             27. The sam e day M ay 17,2016 at 6:50 p.m ., as M lt. AB ELLA exited
          his hom e in his vehicle and w ent across the street to &1M c D onald's''
          OFFICER    ROD RIGUEZ told M R.ABELLA thatnotonly would he issue
          a Citation to M R.ABELLA ifhe did notrem ove the politicalsign butwill
          have M R.. A BELLA arrested. A s M R. A BELLA took out his phone
          D EFEN D AN T O FFICER R OD R IG UE Z speed off.


             28. O n June 8, 2016 at 2:00 p.m ., D EFEN D A N T O FFICER
          RODRIGUEZ follow ed and stalked and intim idated M R..ABELLA .


             29. O n Jtm e 29, 2016 at 3:08 p.m ., D EFEN D A N T O FFICER
          RODRIGUEZ wasw aiting forM R..ABELLA to exithishom e.


             30. O n Septem ber 13,2016 at2:44 p.m .,as M R..A BELLA lefthis hom e
          D EFEND AN T OFFICER RODRIGUEZ appeared outside M R.A BELLA 'S
          residence and followed,harassed,stalked,and intim idated M R.ABELLA al1
          the w ay to M R..A BELLA 'S bank.


             31. O n Septem ber 15, 2016 at 2:44 as M R. A B ELLA left his hom e
          D EFEND AN T OFFICER RODRIGIJEZ followed,intim idated and harassed
          M R.ABELLA through M iamiLakesand onto thePalm etto expressway.

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             32. On Septem ber 16,2016 M R..ABELLA read an article in the M iam i
          Laker Com m unity New spaper about the candidates' profile w ho w ere
          nm ning for the Tow n of M iam i Lakes C ouncil, and a candidate, M rs.
          Elizabeth D elgado,stated to M R..ABELLA thatshe was an AssistantState
          A ttorney and as an A ssistant A ttorney G eneral, she decided herself to
          protectthe people of Florida by insuring ttotlr''Constitution w as follow ed
          and thatthepublic wasprotected from violentcrim inals.


             33. M R.ABELLA contacted M rs.Elizabeth Delgado and shared with
          her how he and his fam ily are being punished by the Tow n ofM inm iLakes
          G overnm ent for voicing his constitutional rights and engaging in a conduct
          protected by the First Am endm ent. M R.. ABELLA , in hopes for better
          honest Governm ent for M iam i Lakes asked M rs. Delgado if he could
          volunteer to help her in her cam paign and she said yes. M R.AB ELLA w as
          given T-shirts and politicalm agnetic signs and M R..M ELLA placed them
          on his car. Shortly after,asM R..ABELLA w ould leave hishome with the
          political signs in support of M rs. D elgado on his car D EFEN D A N T
          O FFICER RODRIGU EZ followed,harassed and intim idated M R..ABELLA
          m aking hand gestttresatM R..ABELLA .


             34. On O ctober27,2016 at10:00 a.m .M R..ABELLA w entto help M rs.
          D elgado forearly voting atPrecinct#352,located atCom m unity Center at
          15151 N .W . 82 A ve., M iam i Lakes, FL 33016. Several Tow n of M iam i
          Lakes Officials approached M R..ABELLA and advise him not to support
          M rs.Delgado and M R.ABELLA ignored them .

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             35. On October27,2016 at ll:00 a.m .M rs.D elgado received a phone
          calland in a rush wentto tellM R..ABELLA thatshe hasjustreceived a
          phone callfrom a very trusted source thatTOW N M AN AGER M EX REY
          w as in his way to this Precinct# 352 to have him arrested. M rs.D elgado
          looked very nervous,pale and shaking. She looked fearful that som ething
          big was going to happen. M rs.Delgado stated to M R..ABELLA that it
          w ould be betterfor him to leave.


             36. On O ctober 27,2016 at ll:20 a.m .TO W N M A N A GER A LEX RE Y
          arrived at Precinct # 352, Comm unity Center located at 15151 N .W . 82
          A ve.,and circled the area w here M R..A BELLA had been standing since
          earlier holding the politicalsigns for M rs.D elgado,realizing and know ing
          w hat the TO W N M A N A GER M EX R EY w as up to M rs.D elgado cam e
          quickly, she w as very nervous and in fear,and she told M R..A BELLA that
          she did not w ant to see him getting arrested and advised M R..A BELLA to
          please leave and M R.ABEl-l-Aoimmediately,outoffear ofunjustly being
          arrested had no choice but to leave.Once again,D efendant TOW N OF
          M IAM ILAKES Ar       TOW N M AN AGER ALEX REY abused theirpow er
          acting under color of law and violated GU STAVO ABELLA 'S rights of
          engaging in a conductprotected by the First Am endm ent.


             37. O n D ecem ber 6, 2016 at 2:10 p.m . as M R.. AB ELLA left his
          residence, D efendant OFFICER RODRIGUEZ appeared outside M R..
          ABELLA 'Sresidence and followed,harassed and shouted atM R. ABELLA
          nearly causing atenibleautom obile accident.

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             38. Throughout2017 Defendant OFFICER RODRIGUEZ acting under
          the coloroflaw continued to retaliate against(
                                                       M R .ABELLA and his fam ily
          forM R..ABELLA filing grievances againsthim and engaging in conduct's
          protected by the FirstA mendment,and requesting and seeking help ofthe
          TO W N O F M IA M I LA K E S and M lA M l D A D E PO LICE D EPAR TW N T
          to resolve the misconduct and injustice that Defendant OFFICER
          RODRIGIJEZ continued. Defendant TOW N OF M lAM lLA KES and the
          M IAM I D A D E POLICE D EPA R TM EN T had continued to ignore M R.
          A BELLA 'S Petition for Redress,being fully aw are of the Constitutional
          violation but did not do a thing to correct the m isconduct and unlaw ful
          actions of D efendant O FFICER RO D R IGU EZ and failed to provide
          adequate training and deliberately ignored the grievances againstD efendant
          O FFICER R O D R IG U EZ.


             39. O n January 10,2018 at9:22 a.m .as M R.M ELLA w as leaving his
          residence Defendant OFFICER RODRIGUEZ appeared and follow ed atld
          harassed M R.ABELLA to thebank m aking hand gestures.


            40. On January 11,2018 at8:30 a.m .asM R..ABELLA was leaving his
          residence D efendant OFFICER ROD RIGIJEZ appeared and follow ed,
          stalked and harassed M R.. ABELLA tm til M R..ABELLA exited M iam i
          Lakes.


            41. O n January 17, 2018 at 8:47 a.m . -12:ll p.m . M R . A BELLA 'S
          vehicle was parked in his assigned parking space at his Condom inium

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          Complex which has 200 parking spacesand about40 visitorspaces and the
          TOW N OF M lAl
                       M lLAKES placed a Police carparked directly behind M R..
          A BELLA 'S vehicle in a private parking space for intim idation.


             42. The same day,January l7,2018 at12:09 p.m .M R.ABELLA sentan
          em ail to M lAM l D AD E PO LICE D EPA R TM EN T, D irector JtlA '
                                                                           N J.
          PEREZ,to file a complaint against D efendant OFFICER RODRIGUEZ,
          seeking assistance and help to stop D efendant OFFICER RODRIGUEZ
          from continuing to harass,threaten,intim idate and violate M R..ABELLA 'S
          civil rights, and to this date no response and no change in D efendant
          O FFICER RO D R IG U EZ'Sconduct.


             43. Throughout2018 M R.A B ELLA 'S num erous tim es filed grievances
          com plained and requested to M IA M I D A D E PO LICE D EPA R TM EN T and
          to the TO W N O F M lAlM l LA KE S to please review and investigate all the
          evidence thatM R..A BELLA obtained that would clearly show as to why
          D efendant OFFICER RODRIGUEZ had continued to harass intim idate,
          stalk,follow ,threaten,and continue acting under the color oflaw ,deprived
          and violated M R.. ABELLA of his First Am endm ent rights, and both
          D efendants TOW N OF M lAM lLAKES and the M lAv             DADE POLICE
          D EPA R TM EN T w ere fully aw are of the constitutionalviolations and failed
          to provide adequate laining/re-train to Defendant OFFICER RODRIGUEZ
          and deliberately indifference and failureto actresulted in repeated violations
          ofM R..A BELLA 'S constitutionalrights.




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             44. On February 6, 2018 at 9:30 a.m . D efendant OFFICER
          RODRIGUEZ appeared outside M R.. ABELLA 'S residence and followed
          M R.ABELLA a11thew ay to hisbank.


             45. On M arch 1,2018 at 4:38 p.m .D efendant OFFICER R O D RIG LTEZ
          follow ed M R..A BELLA untilM R..A B ELLA pulled into hishom e.


             46. On M arch 7,2018 at 4:12 p.m .D efendant O FFICER RO D R IG IJEZ
          appeared outside M R.. A B ELLA 'S residence as M R.. A B ELLA and his
          daughterleftto chlzrch. DefendantOFFICER RODRIGUEZ follow ed them
          and then drove parallel to M R.. A BELLA 'S vehicle on the driver's side
          intim idating and harassing w ith disrespectable hand gestlzre as M R    ..



          ABELLA 'Sdaughterwasdriving.


             47. O n O ctober 4, 2018 at 8:25 p.m . as M R. A BELLA exited his
          residence D efendant OFFICER RODRIGUEZ appeared and continued to
          harass,threaten,and intim idate M R.ABELLA .


             48. D efendants TO W N M AN A G ER A LEX REY and O FFICER
          RODRIGUEZ are doing everything illegally possible,acting underthe color
          of1aw thata11the evidence thatM R..ABELLA has obtained and has in his
          possession be not reviewed or investigated because it willclearly bring to
          lightthe injustice'sthathas been done including M iamiDade CourtCase
          #2008-19978-CA -01,to M R..ABELLA for voicing his God given United
                                        ,



          StatesConstitutionalRights.



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                                          CO UNT l
             (42U.S.C.j1983 againstDefendantTOW N OF M IAM ILAKES for
                 Deliberatelndifferenceto FirstAmendmentrights)

                49. M R.ABELLA repeat and reallege paragraphs 1 through 48,
          and incorporatesthem by reference herein.


                50. Throughout 2016-2018 M R. ABELLA                filed num erous
          com plaints through em ails to D efendants TO W N O F M IA M I LA IQE S and
          M 1A M 1 D A D E PO LICE D EPT. pleading to investigate D efendant
          O FFICER R OD RIG UEZ 'S continuance unlaw ful m isconduct, harassing,
          stalking, intim idating, and threatening M R .A BELLA . D efendant TO W N
          OF M lAlM l LAKES is and has been aware ofthe ConstitutionalViolation
          butdid notdo a thing to correctDEFEND AN T OFFICER RODRIGUEZ'S
          m isconductand unlaw fulactions.


                      D efendant TO W N O F M IA M I LA K ES has m aintained and
          exhibits a deliberate indifference to the Constitutionalrights ofpersons in
          the TO W N OF M IAM ILAKES,w hich hasresulted in the violation ofM R.
          A BELLA 'S civilrights.


                52.    A sa resultofthe policies and custom s ofTOW N O F M lAM l
          LAK ES, police officers assigned to the TO W N O F M IA M I LA K ES,
          including D efendant OFFICER RODRIGUEZ believed that their actions
          would not be properly m onitored,investigated,or sanctioned by superior
          officersorjudicialofficials.


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                53.    The facts above indicate a deliberate indifference to civilian
          complaints and/orcivilrightsviolations by D efendantM iam iD ade Cotmty
          Police assigned to the TOW N OF M IAM I LAKES and that Defendants
          TOW N OF M Im       LAKES TO W N M AN AGER A LEX REY and form er
          TOW N M AYOR M ICHAEL PIZZItook no actionsto preventthecontinued
          violations of M R..A BELLA 'S civilrights by police oflcers assigned to the
          TO W N O F M lm    LA K ES


                54.    D efendant TO W N O F M IAM I LA K-E S had actual and
          constructive know ledge of M R.. M ELLA 'S com plaints against D efendant
          O FFICER R O D RIG U EZ,w ho has been assigned to the TO W N O F M IAM I
          LA ICE S for severalyears already and w ho hasdisplayed in the pastthe sam e
          unlaw fulm isconductand behaviortoward M R..ABELLA .


                55.    D efendant TO W N      OF    M lA M l LA K ES      deliberated
          indifference and failure to act against D efendant O FFICER RO D R IG UE Z
          resulted in repeated violationsofM R.A BELLA 'Sconstitutionalrights.


                56. D efendant TOW N O F M lA M l LA K ES at no m om ent have
          reprim anded, disciplined, Counsel, re-assign, re-trained D efendant
          OFFICER RODRIGUEZ know ing thathe hasbeen one ofPolice O fficersin
          M iam i Lakes w ho w ere D efendants in the Case # 11-20152-C1V -
          A LTON AGA/BROW N , in which som e of the other Defendants took an
          early retirementort'
                             ransferto anotherPolice Stationsin M iamiDade.




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                       D efendant TOW N OF M lAM l LAK ES incom orated in
          D ecember of 2000 and has contracted the sew ices of the V Al
                                                                      M l D AD E
          POLICE DEPARTM ENT (M DPD)for1aw enforcementsinceitsinception.
          TOW N OF M lAlM l LAKES PO LICE'S Official W ebsite states in its
          M ission Statem entthe follow ing:
          t1To prom ote a safe and sectlre environm ent,9 ee 9om crim e and the fearof
          crim e. M aintain orderand provide forthe safeand expeditiousflow of
          traffic. Practice ourcore valuesofintegrity,respect,service,and fairness.''

          M R.A BELLA and his fam ily live in a constantstate of fear. M R..A BELLA
          and his fam ily feelunsafe in their hom e and w hile driving due to ongoing
          alzd system atic police intim idation inflicted upon them by D efendant
          O FFICER RODRIGUEZ,who isaM IAM IDADE POLICE assigned to the
          TO W N O F M lA M lLA K E S.


                58. D efendantTOW N O F M IAM ILAKES deliberately
          indifferenceviolated M R..ABELLA 'Sconstitutionalrightsw hen ithasbeen
          deprived of:
          a)    A friendly andhelpfulservice
          b)    Obtaining an tmiform levelof service as any other residentofthe
                TOW N OF M IAM I LAKES when it has been requested and
                petitioned a redress for grievances against D EFEN D AN T O FFICER
                RODRIGIJEZ in his written com mtm ications to the TOW N O F
                M IAM ILAKES,itsemployees,elected officialsand asitisa custom ,
                policy and procedure stated in its OfficialW ebsite in regards to the
                Quality ofLife to the residents ofthe TOW N OF M lAM lLAKES
                stated asfollow s:


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                ''W e provide ollr residents with friendly and helpful service through
                ottrdepartm ents.including the Office ofthe Town M anager,Office of
                the Town Clerk, Budget & Adm inistration, Building Departm ent,
                C om m unity D evelopm ent D epartm ent, C om m unity & Leisure
                Services D epartm ent, Public W orks D epartm ent and the Police
                D epartm ent.

                Forresidents,a1lofthismeansthatonecan enjoyaqualityoflifethat
                is second to none -nattlralscenic beautyaa vibrantculttlral
                environm ent,and lively nightlife.


                TOW N OF M lAM lLAKES'Sw ebsite also states:

                The Town of M iam i Lakes is dedicated to M aintaining a Positive
                Tow n Identity & Sense ofCom m unity

                    M ake M iam iLakes a highly desirable Tow n in w hich to live,w ork
                    and play
                .   M ake M iam iLakes a :111:11service''com m unity
                    Focus on strategic econom ic developm ent
                    C om m it to achieve uniform levels of service,beautification, and
                    overallam biance throughoutthe entire Tow n
                .   M aintain a itsm allTow n''environm ent


                59. To the bestof M R,.ABELLA 'S know ledge DefendantTOW N
          O F M IAM I LAK E S has taken no action in response to M R..A B ELLA 'S
          repeated com plaints to discipline, re-assign,re-train, counsel, or any other
          appropriate rem edy to address the unlaw ful m isconduct of D efendant
          OFFICER RODRIGUEZ or any other officer, staff m ember, or elected
          officialnam ed as a defendantin this action.


                60. D efendant TOW N OF M IAM ILA KES deliberately has failed
          to provide and require adequate training/re-training from the police officers


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          assigned to the Town ofM iam iLakesand the deficiency and indifference of
          the services provided by som e police officers like Defendant OFFICER
          RODRIGUEZ constitute a negligence having the know ledge of the
          Defendant OFFICER RODRIGUEZ'S pattern of violation of civil rights
          againstM R..A BELLA .


                61. DefendantTOW N OF M IAM ILAK ES hashad the know ledge
          that D efendant O FFICER R O D R IG U EZ has been a D efendant in M R.
          A BELLA 'S past Federal C ase because of sim ilar acts of violation of civil
          rights and still has kept him assigned to this M unicipality and has acted
          deliberately ignoring the Petition for Grievances against DEFEN DAN T
          O FFICER RO D R IGU EZ .

                                          C O U N T 11
                    A llegations againstO FFICER JtlM    F.R O D R IG U EZ

           (42 U.S.C.j 1983againstDefendantJtlA'N F.RODRIGUEZ,Individually
                           forviolation oftheFirstAmendment)

                62. M R..ABELLA repeat and reallege paragraphs 1 through 48,
          and incop oratesthem by referenceherein.


                63. This cause of action is brought by M R. ABELLA against
          D efendantOFFICER RODRIGIJEZ in his individualand officialcapacity,
          for interfering w ith M R .A BELLA 'S constitutional right of free speech as
          guaranteed by theFirstam endm entto theUnited StatesConstitution.




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                64. The violation ofM R..ABELLA FirstAm endm entrightsto free
          speech constitutes irreparable hnrm .


                65. Atalltim es,D efendantOFFICER RODRIGUEZ w as acting in
          the cotlrse and scope ofhis duties as a M iam iDade County Police Officer
          assigned to the TO W N O F M IA M ILA K ES,Florida.


                66.    W hile acting under color of law , in M ay 2016, D efendant
          O FFICER RO D R IG U EZ personally deprived M R..AB ELLA         of his First
          A m endm ent right to freedom of speech and political expression w hen
          D efendant O FFIC ER RO D R IGU EZ drove by and told M R..A B ELLA to
          rem ove a politicalsign offfrom his vehicle and threatened to issue a Citation
          ifhedid notcom ply with the order.


                67. B y ordering M R..A BELLA to rem ove the sign from his vehicle
          under threat of citation, D efendant O FFIC ER RO D R IGIJEZ directly
          suppressed M R..ABELLA 'S freedom of speech in W olation of the First
          Am endm entto theU nited StatesConstitution.


                68. M R..ABELLA eventually rem oved the sign from hisvehicle in
          hopes that D efendant O FFICER R O DR IG U EZ w ould stop all his unlaw ful
          conducttoward M R..ABELLA . M R..ABELLA was deprived to voice his
          opinion by displaying his politicalsign on his vehicle. D efendant O FFICER
          R O D R IG U EZ abused his position as Law Enforcem entO ffcer and violated
          M R..ABELLA 'S sectlred FirstAm endm entrights.


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                69. D efendant OFFICER RODRIGU EZ'S actions vvere taken to
          unlaw fully silence M R.ABELLA 'S First Am endm ent right to express his
          politicalopinion.


                70.    DefendantOFFICER RODRIGUEZ hasrepeatedly stalked and
          harassed M R..A B ELLA by continually show ing up outside M R..A BELLA 'S
          residence.


                71.    DefendantOFFICER RODRIGUEZ conspired w ith Defendant
          TOW N M ANA GER ALEX REY to stalk, harass and intimidate M R..
          A BELLA for having a political sign in his vehicle against TO W N
          M A N A G ER M EX REY and threaten to issue a citation if it w as not
          rem oved.


                       Throughout 2016-2018 Defendant OFFICER RODRIGUEZ
          has continued repeatedly harassed and intim idated M R. A B ELLA in
          retaliation for M R .A B ELLA 'S conviction in the expression of his political
          opinions,and filing pievancesagainstDefendantOFFICER RODRIGIJEZ.


                73.    D efendant OFFICER RO D R IG IJEZ 'S retaliatory actions did
          notreasonably advance a legitim ate correctionalgoal.


                74. Defendant OFFICER            RODRIGUEZ        repeated tmlaw ful
          retaliatory actsofharassm ent,stalking and intimidation establish a claim for
          ptm itive dam ages against D efendant O FFICER           R O D R IG U EZ   for
          interference w ith M R .AB ELLA 'SFirstA m endm entrights.

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                       Defendant OFFICER RODRIGU EZ'S unlaw ful retaliatory
          actions caused M R.. ABELLA hnrm and he is entitled to declaratory
          judgment,compensatory and punitivedamages,and such otherreliefthatthe
          Courtdeemsappropriateunder28U.S.C.j2202.


                                       C O U N T III
       (AllegationsAMainstTOW N OF M lAM lLAKESM ANAGER M EX REY)
         (42U.S.C.j 1983 AgainstDefendantTOW N M ANAGER ALEX REY,
       Individually and in hisO fficialC apacity forPolicy to R etaliate againstM R.
                            ABELLA andto SuppressSpeech)

                76. M R. A BELLA repeat and reallege paragraphs 1 through 48,
          and incom oratesthem by reference herein.


                77. This cause of action is brought by M R . A BELLA against
          Defendant TO W N M AN AGER ALEX REY in his individual and official
          capacity, for interfering w ith M R.. A B ELLA 'S constitutional right of free
          speech as guaranteed as guaranteed by the First Am endm entto the United
          States C onstitution.


                78.    As per the Tow n ofM iamiLakes Town Charter,some ofthe
          D efendant TO W N M AN A GER A LEX REY 'S responsibilities are as
          follow s:
          CGsection 3.3 Powers and Duties ofthe Town M anaoer.
          The M anagershall:
          (a)Be responsible forthe hiring,supervisionand removalofaIITown employees;
          b)Directand supervise the administration ofaIIdepartments and offices butnot
          Town boards oragencies,unless so directed by the Councilfrom time to tim e;
                                                                                        23
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           (d) Ensure that aIlIaws,provisions of this Chader and acts of the Council,
          subjectto enforcementand/oradministration byhim/herorby employees subject
          to his/herdirection and supervision,are faithfully executedi'

                D efendant TO W N M AN A G ER A LEX R EY w as in charge, as it is
          stipulated in the Tow n ofM inm iLakesCharterto Directand Supervise the
          adm inistration of &'a11''departm ents and offices....this include the Police
          D epartm ent. TO W N M A N A G ER A LEX R EY is also in charge that allthe
          lawsand provisionsstipulated in the Town Charterare faithfully executed.


                79. D efendant TO W N M AN A G ER A LEX R EY deliberately
          ignored the grievances filed against D efendant OFFICER RODRIGUEZ
          because D efendant TO W N M AN A G ER A LEX REY knew and has had
          knowledge that M R..ABELLA had gathered and obtained sufficient clear
          evidence thatw ith a unobstructed investigation w ould prove thathe,TOW N
          M AN A G ER A LE X R EY ,has personally participated in the constitutional
          violations acting under color of law ,abused his pow er and personally is/w as
          involved and im plicated in the cam paign with Defendant OFFICER
          RODRIGIJEZ to silence M R.ABELLA forengaging in a conductprotected
          by the FirstAmendm entand has deprived and obstructed M R..ABELLA of
          his rights to Petition for R edress G rievances to the TO W N O F M IA M
          LA K E S.


                80. D efendant TO W N M A N A G ER M EX REY has em ployed a
          policy of deliberate indifference to the repeated violations of M R.
          A BELLA 'S civilrightsby D efendantO FFICER RO D R IG U EZ .




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                81.    DefendantTOW N M ANA GER ALEX REY has violated M R.
         ABELLA 'S First Am endm ent rights by personally pm icipating in the
          ongoing harassm entofM R..A BELLA and his fam ily.


                82. DefendantTOW N M AN AGER ALEX REY acting undercolor
          of law ,outof retaliation for M R..AB ELLA exercising his First A m endm ent
          rights m anipulated Law Enforcem entpolice officers,
                                                             'in thiscase,Defendant
          OFFICER RODRIGUEZ, to deprive and violate M R.. ABELLA 'S First
          Am endm entrights to free speech for M R.ABELLA exhibiting a political
          sign against Defendant TOW N M AN AGER ALEX REY that w as being
          displayed on his vehicle.


                83. D efendants TOW N M AN AGER ALEX REY and OFFICER
          ROD RIGUEZ acting under color of law conspire to stalk, harass and
          intim idate M R.. ABELLA and out of retaliation for M R.. ABELLA
          exercising his FirstAm endm entrightsby displaying a politicalsign placed
          on his vehicle against TOW N M AN AGER ALEX REY had a group of
          police officers that cam e along w ith D efendant O FFICER R OD R IG U EZ to
          deprive and deter M R.. ABELLA of his right             exercise his First
          Am endm entrights.


                84.    D efendant TOW N M AN AGER ALEX REY repeatedly
          em ployed a policy ofdeliberate indifference to M R.ABELLA 'S com plaints
          againstDefendantOFFICER RODRIGUEZ.




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                85. D efendant TOW N M ANAG ER M EX REY had know ledge
          that D efendant O FFICER RO D R IGU EZ repeatedly acting under color of
          law continued harassing M R.ABELLA in retaliation for M R..ABELLA'S
          expression ofhisFirstam endm entrightsand failed to take any action to stop
          D efendant OFFICER RODRIGUEZ'S continued harassm ent, stalking and
          intim idation ofM R..A BELLA .


                86. D efendantTOW N M A N A G ER failed to take action in response
          to M R..A BELLA 'S com plaints,em ails and thereby acquiesced to the pattern
          of harassm ent intlicted upon M R.ABELLA by a police officer who has
          been assigned to the TO W N O F M lAlM lLA K ES and w ho had displayed the
          sam e attitude and behaviorand wasalso a Defendantalong w ith som e other
          police officersin a previous FederalCase filed by M R..A BELLA . Case N o.
          1I-ZOISZ-CIV -A LTO N A G A -B RO W N .


                87. D efendant TO W N       M A N A G ER M EX       REY    personally
          violated M R.ABELLA 'S FirstAm endment rights when he conspired w ith
          others to show up atthe Com m unity C enterlocated at 15151 N .W .82 A ve.,
          M iam iLakes,FL 33016 with the intention and prem editation to try to have
          M R..ABELLA arrested. ltwas the Early Voting and M R..ABELLA was
          volunteering forM rs.Elizabeth Delgado'sCampaign nmning forone ofthe
          seatofthe Cotm cilmembers. M rs.Delgado received a phone calland in a
          rush wentto tellM R..ABELLA thatshehasjustreceived aphonecallfrom
          a very trusted source stating thatthe TO W N M AN A GER A LEX R EY w as
          in his w ay to this Precinct # 352 to have him arrested. M R..A BELLA
          noticed a strong fear and nervousness in M rs.Delgado appearance and she

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          looked very w onied forhim . M rs.Delgado insistently told M R..ABELLA
          to please leave to avoid this incident. M R..ABELLA had no other choice
          but to leave the place w hen TO W N M A N A GER A LEX R EY in fact
          appeared atthislocation.(SeeNtlmerals36-37)

                88. D efendant TO W N M AN A G ER A LEX REY abused his pow er
          and position acting under color of law and violated M R.ABELLA 'S rights
          of engaging in a conduct protected by the First A m endm ent. D efendant
          TO W N M A N A G ER A LEX R EY took action w ith prem editation trying to
          arrestM R..ABELLA in a place (Community Center,Early Voting)where
          M R..A BELLA had all the right to be freely as it is stipulated in the First
          A m endm entrights ofthe U nited States C onstitution.


                89. D efendantTOW N M ANAG ER ALEX REY acting undercolor
          of 1aw conspired w ith D efendant O FFICER R O D R IG U EZ to stalk,harass
          and intim idate M R.. A BELLA for having a political sign in his vehicle
          againstTOW N M AN AGER ALEX REY and in retribution threatto issue a
          citation ifthe sign wasnotrem oved.


                90. D efendant TO W N M AN A G ER A LEX R EY acting under color
          of 1aw conspired with D efendant Form er TOW N M AYOR M ICH AEL
          PIZZI to file an lnjunction in retribution for the petition for Redress of
          grievancesfiled againstD efendantOFFICER RODRIGUEZ.


                91. Defendant TOW N M AN AGER ALEX REY 'S retaliatory
          actionsdid notreasonably advancea legitim ate correctionalgoal.

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                92. Defendant TOW N         M AN AGER M EX         REY 'S tm lawful
          retaliatory actions caused M R.. ABELLA hnrm and he is entitled to
          declaratory judgment,compensatory and punitive damages,and such other
          reliefthattheCourtdeemsappropriateunder28U.S.C.j2202.


                                         C O U N T IV
            A llegation A gainstForm er Tow n ofM iam iLakesM ayorM ichaelPizzi
            (42U.S.C.1983AgainstDefendantFormerM AYOR M ICHAEL PIZZI,
       Individually and in hisOfficialCapacity,forpolicy to retaliate againstM R..
                     GUSTAVO ABELLA and to SuppressSpeech)

                93. M Ik..A BELLA repeat and reallege paragraph lthrough 48,and
          incop orate them by reference herein.


                94. This cause of action is brought by M R. ABELLA against
          D efendant fonuer TO W N M AY O R M ICH A EL PIZZI in his individualand
          officialcapacity,forinterfering with M R.A BELLA 'S constitutionalrightof
          free speech as guaranteed by the First Am endm ent to the United States
          Constitution.


                95. D efendant Former TOW N M AYOR W CHAEL PIZZI has
          employed a policy of deliberate indifference to the repeated violations of
          M R.ABELLA 'S civil rights by Defendant OFFICER ROD RIGIJEZ tm der
          TO W N O F M lA M l LA K ES M A Y OR W CH A EL PIZZI head of the Tow n
          governm ent for all cerem onial purposes,for pum oses of m ilitary law , and
          forservice ofprocessasitisstipulated in the Town ofM iamiLakesCharter,

                                                                                     28
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          A rticle II.Tow n C olm cil'
                                     , M ayor, Section 2.
                                                        2 M ayorand Vice-M ayor,(a)
          (iiil:
          The M ayor shall be recognized as head of the Tow n governm ent for al1
          cerem onial purposes, for purposes of m ilitary law , and for service of
          PCOCeSS.


                   96. D efendant Form er TO W N M A Y O R M ICH AEL PIZZI w as
          acting as the M ayor of the Police Officers assigned to the TOW N OF
          M 1.AM 1LAKES including D efendantOFFICER RODRIGUEZ.


                   97. O n M arch 22, 2016 M R..A BELLA sent an em ail to TO W N
          M AY O R M IC H A EL PIZZI, TO W N M AN A G ER A LEX REY , and the
          Tow n Councilm em bers seeking accotm tability and to resolve and correctthe
          tm law ful behavior that continued to be done to M R.. A BELLA and his
          fam ily by D efendant OFFICER RODRIGIJEZ and D efendant TOW N OF
          M 1A M 1 LA K E S. M R..A BELLA had no response from D efendant TO W N
          O F M lA M l LA K E S and no change of m isconductby D efendant O FFICER
          RODRIGUEZ.


                   98. O n A pril l2, 2016 at 7:30 a.m .M R..A BELLA sent an em ail
          filing g'
                  rievances seeking help,assistance and accountability to the TOW N
          M A N A G ER A LEX REY , TO W N M AY OR W CHA EL PIZZI and Tow n
          Councilm embersasking and requesting thata11ofM R.ABELLA 'Sevidence
          be review ed and investigated as to how and why M R.ABELLA and his
          fam ily continue to be punished and retaliated against by Defendant
          OFFICER RODRIGUEZ forM R..ABELLA engaging in a conductprotected



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          by the First Amendm entand for filing grievances against D EFEND AN T
          OFFICER RODRIGUEZ and TOW N OF M IAM LAKES.


                99. O n A pril 12,2016 at4:39 p.m .in response to M R..ABELLA 'S
          em ail from earlier that day, TO W N M AYOR M ICHAEL PIZZI sent an
          em ailto TO W N M AN A G ER A LEX R EY stating: ûûA lex: H e's at it again.
          FYI.Getan injtmction,or1'11getone foryou. M ike.'' DefendantFormer
          TO W N M A Y O R M ICHA EL PIZZI'S em ailto TO W N M AN A G ER A LEX
          R EY resulted violating and depriving M R.. A BELLA 'S First A m endm ent
          Rights to petition for redress of l evances to the TOW N OF M IAM I
          LA K ES and in M R. A BELLA being punished for exercising his First
          A m endm entR ights.


                100. D efendant Form er TO W N O F M IA M I L AK ES M AY O R
          M ICHA EL PIZZI m anipulated D efendantTO W N M AN A G ER A LEX R EY
          and violated the Tow n ofM iam iLakes Charter by giving an order or better
          said an ultim atum to the TOW N M AN AGER ALEX REY stating itGet an
          Injunction or 1'11 get one for you'', resulting in the violation of M R..
          A BELLA 'S exercise of his First A m endm ent rights to file a petition for
          grievances againstD efendantO FFICER R O D R IG IJEZ.


                101. As a resultofDefendantForm erTOW N M AYOR W CHAEL
          P1ZZ1's em ailto DefendantTOW N M AN AGER ALEX REY the sam e day,
          April 12, 2016 at 4:39 p.m ., on M ay l2, 2016 Defendant TOW N
          M AN A G ER   A LEX     R EY   along w ith     D EFEN D A N T   O FFICER
          R OD R IG IJEZ did asD efendantForm erTO W N M AY O R M ICH A EL PIZZI

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          stated to do.
                      .DefendantTOW N M AN AGER ALEX REY filed and obtained
          theInjunctionOrderaccompanied byDefendantOFFICER RODRIGUEZ as
          hiswitness. Both were sworn tmderoath,underpenalty ofperjmy falsely
          accused M R.ABELLA outofretaliation forM R..ABELLA having engaged
          in a conduct protected by the First Am endm ent rights and for filing
          grievances against D efendant O FFIC ER R O D RIG UE Z and display a sign
          againstD efendantTO W N M A N A G ER A LEX REY .


                102. D efendant Form er TOW N          M AYOR      W CHA EL PIZZI
          deprived and obstructed M R..A BELLA 'S FirstA m endm entrightto speech,
          political expression and right to petition for grievances and as a result M R..
          M ELLA w as punished for D efendant form er TO W N M A Y OR M IC H AEL
          PIZZI'S abuse ofpow er acting under color oflaw aw are ofthe constitutional
          violations and personally pm icipated in the constitutionalviolations.


                103. D efendant Form er TO W N M AY O R M ICH A EL PIZZI acting
          tm der color of 1aw conspired w ith Defendant TOW N M AN AGER ALEX
          REY to file an Injunction for the petition forRedress of grievances filed
          againstD efendantO FFICER R O D RIG U EZ.


                104. D efendant form er TOW N M AYOR M ICHAEL P1ZZl's
          retaliatory actionsdid notreasonably advancea legitimate correctionalgoal.


                105. D efendant form er TO W N M AY O R W CH AEL PIZZI'S
         unlaw fulretaliatory actionscaused M R..A BELLA harm and he isentitled to



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          declaratoryjudgment,compensatory and punitive damages,and such other
          reliefthattheCourtdeemsappropriateunder28U.S.C.j2202.
                                          CO UNT V

                           A llegationsAgainstW AM lD ADE COUN TY

      (42 U.S.C.j 1983AgainstDefendantM lAH DADE COUNTY forDeliberate
                      IndifferencetoFirstAmendmentRights)

                106. M R .A B ELLA repeat and reallege paragraphs 1 through 48,
          and incorporate them by reference herein.


                107. Throughout 2016-2018 M R.. A BELLA             filed num erous
          com plaints thru em ails pleading to investigate D EFEN D A N T O FFIC ER
          R O D RIG UE Z'S continuance unlaw ful m isconduct of harassing, stalking,
          intim idating, and threatening M R..ABELLA . Defendant M lAlM l D ADE
          CO U N TY did not do anything to correct D EFEN D A N T O FFIC ER
          R O D R IG UE Z'S abuse of pow er,retaliatory actions and m isconductdisplay
          atalltim es in the Tow n ofM iam iLakes.


                108. Defendant M IAM I DADE COUN TY has m aintained and
          exhibits a deliberate indifference to the Constitutional rights which has
          resulted in the violation ofM R .ABELLA 'Scivilrights.


                109. D efendant M lA.
                                    M l D A D E PO LICE states in their w ebsite the
          follow ing'
                    .




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          tvlntegrity
          Integrity isthe hallm ark oftheM inm i-D ade PoliceD epm m entand we are
          com m itted to the highestperform ance standards,ethicalconductand
          truthfulnessin allrelationships.W e hold otlrselvesaccountable forotlr
          actionsand take pride in aprofessionallevelofservice and faH essto all.

          R espect
          W e treata1lpersonsin a dignified and courteousm anner,and exhibit
          understanding ofethnic and culttlraldiversity,both in otlr professionaland
          personalendeavors.

          Service
          W e provide quality service in a courteous,efficientand accessible m anner.
          W e foster com m unity and em ployee involvem entthrough problem -solving
          Partnerships.''

                However,M R..ABELLA has been a victim w hose rights have been
          violated by D EFEN D A N T O FFICER R O D R IG U EZ. M R.. A BELLA has
          petitioned to redress grievances the answ er he has gotten back has been
          retaliation from the sam e D EFEN D A N T O FFICER R O D RIG IJEZ.

                110. D efendantM IAM ID A D E C O UN TY w as atalltim e relevantto
          this com plaint. They have had know ledge of allthe incidents raised from
         the Defendant O fficer RODRIGUEZ'S misconduct, abuse of pow er,
          retaliation and harassment and allthe com plaints that have been filed and
          reported locally and to the County.

                111. DefendantM lAlM l DADE COUN TY was aw are ofD efendant
          OFFICER RODRIGUEZ'S unlawfulconductregarding the incidents in the
          case Abella v.N ancy Sim on,etal.,Case No.11-20152-C1V-M TONA GA-
         BROW N that to this date continue to display against the Plaintiff, M R.
          AB ELLA .


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                112. D efendantM IAM I DADE COUN TY has been indifferentand
          hasfailed to correct,reprim and,discipline,counsel,re-assign,re-train and/or
          fire DefendantOFFICER RODRIGUEZ.

                l13. D efendant M IAM I D ADE COUN TY has been negligent in
          disciplining and/or retraining his Police Officers due to having perfect
          know ledge of this sam e kind of misconduct that Defendant OFFICER
          R O D RIG UEZ displays and thatitw as also included in the Law suitfiled by
          M R.. ABELLA against D efendant OFFICER RODRIGUEZ and other
          M 1.AM 1D AD E Police O fficers assigned to the TO W N O F M IA M ILA K E S
          including the Former Town of M iami Lakes Town Commander, M ajor
          Bocanep a,who w as the Supervisorand also a participantin the abuse and
          retaliation of the tm law ful acts done by him personally and by som e other
          M iam i D ade Police O fficers for M R.. A BELLA exercising his First
          AmendmentRightsin theTown ofM iamiLakes. (Abellav.Nancy Simon,
          eta1.CaseNo.lI-ZOISZ-CIV-ALTONAGA-BROW NI

                l14. Defendant M IAM I DADE COUN TY deliberate indifference
          and failtlre to act resulted in repeated violations of M R.. ABELLA 'S
          constitutionalrightsprotected by the United StatesConstitution.

                            D EM A N D FO R JUR Y TR IA L


    Plaintiff,M R..ABELLA,hereby demand ajurylialofallissuessotriable.

    W H ER EFO R E,Plaintiff,M R..AB ELLA ,respectfully requeststhisC ourt:




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          A.EnterajudgmentinfavorofPlaintiff,M R..ABELLA,againstDefendants
            TOW N O F M IA M ILA K ES,O FFICER JUAN F.R O D R IG U EZ,TO W N
            M A N A G ER A LEX R EY , Form er TO W N M A Y OR M ICH A EL PIZZI
            and M lAM lDAD E COUN TY .


          B.Enteradeclaratoryjudgmentthatthe actionsofDefendants,TOW N OF
            M IAM I LA K ES, O FFICER         JUAN     F. R O D RIG U EZ, TO W N
            M A N A G ER A LEX R EY , Form er TO W N M A Y OR M ICI'IAEL PIZZI
            and M lAM l D A D E C O UN TY ,violated Plaintiff M R.A BELLA 'S rights
            secured by the FirstA m endm entto the U nited States Constitution.

          C.Aw ard Plaintiff, M R. ABELLA appropriate Compensatory dam ages
            against D efendants TO W N O F M IA M I LA IQES, O FFICER Ju u        F.
            RO D RIG U EZ, TO W N M AN A G ER M EX R EY , Form er TO W N
            M AY O R M IC HA EL PIZZIand M IAM ID A D E CO U N TY .

         D .Aw ard Plaintiff M R. A B ELLA punitive dam ages against D efendants
            TOW N OF M IAM ILAK ES,OFFICER JuM             F.RODRIGUEZ,TOW N
            M AN A G ER M EX REY , Form er TO W N M A Y O R M IC H A EL PIZZI
            and M IAM ID A D E C OU N TY forknow ing violation ofM R .A BELLA 'S
            constitutionalrights secured under the First Am endm ent to the United
            StatesC onstitution,
                               '


         E. A w ard Plaintiff M R.. A B ELLA putative dam ages against D efendants
            TOW N OF M IAM ILAKES,OFFICER JuAN F.RODRIGUEZ,TOW N
            M AN A G ER A LEX R EY , Form er TO W N M A Y O R W CH AEL PIZZI
            and M Im    DADE COUN TY forknow ing violation ofM R.ABELLA 'S


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             constitutionalrights secured under the First Amendmentto the United
             States C onstitutionk

          F. A w ard PlaintiffM R.A B ELLA any other and further relief as this Colzrt
             deemsjustandproperunderthecircum stances.

    D ated February 11 ,                 Respectfully subm itted,


                                            >          w    .



                                          G U STA V O A BELLA


    7400 M iam iLakes D r.,D -l08
    M iam iLakes,FL 33014
    Cell:305-305-6622
    Email:gusabella4@ gmail.com

                            C ER T IFIC A T E O F SE R V IC E

          HEREBY CER TIFY that an original and a true and correct copy of the
    foregoing PlaintiffsFirstAm ended Com plaintwas served thisday,February 11 ,
    2019 on a11 partiesofrecord on this 11thday ofFebruary 2019  .




                                     G U STA VO A BELLA

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    M inm iLakes,FL 33014
    Ce1l:305-305-6622
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                            CER TIFICA TE O F SERV ICE
                     Case N o.18-cv-24889-G R M 1AW M cM 1LEY
                 United StatesD istrictCourt,Southem DistrictofFlorida


    IHEREBY CERTIFY thata m ze and correctcopy ofthe foregoing was served by
    m ailon February 11th, 2019 on the follow ing counsel:

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